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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

SAIFULLAH KHAN                                      :       CIVIL ACTION NO.
     Plaintiff,                                     :       3:19-cv-01966-KAD
                                                    :
V.                                                  :
                                                    :
YALE UNIVERSITY, ET AL.,                            :
     Defendants.                                    :       DECEMBER 27, 2023

                            MOTION TO SEAL
               EMERGENCY MOTION FOR JUDGMENT OF DISMISSAL

       Pursuant to Local Rule 5(e) and this Court’s Order holding that Defendant Jane Doe is

entitled to anonymity in this action (ECF 12), Defendant Jane Doe respectfully moves to file her

Emergency Motion for Judgment of Dismissal (“Motion”), Memorandum of Law in Support of

that Motion (“Memorandum of Law”), and Exhibits to the Memorandum of Law (“Exhibits”)

under seal. Good cause exists to seal the Motion, Memorandum of Law, and Exhibits.

       Jane’s Motion seeks dismissal of the claims against her based on misconduct by Plaintiff

in this action. That misconduct includes disseminating Jane’s name in violation of this Court’s

Anonymity Order (ECF 12) and harassing Jane through purported “settlement communications.”

       If Jane’s filings are publicly accessible, the misconduct that Jane seeks to remedy through

her Motion will be compounded. For example, Jane’s Memorandum of Law and Exhibits describe

how Plaintiff has disseminated Jane’s actual name. If Jane’s Memorandum of Law and Exhibits

are publicly accessible, the public will know where to look to learn Jane’s real name. That would

compound the injury Jane has already suffered as a result of Plaintiff’s misconduct by further

disseminating Jane’s name despite this Court’s Order granting her anonymity. (ECF 12.)

       Moreover, Jane’s Memorandum of Law and Exhibits also discuss purported “settlement

communications” sent by Plaintiff in this case.            While these supposed “settlement
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communications” are not legitimate settlement communications and are instead harassing, abusive,

and retaliatory, good cause exists to seal purported “settlement communications.” That good cause

includes the reasons for protecting settlement communications from disclosure.

       The Court should seal the Motion, Memorandum of Law, and Exhibits.


                                                    DEFENDANT JANE DOE,

                                               By: /s/ Brendan N. Gooley
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                                                    Her Attorneys
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                                CERTIFICATION OF SERVICE

       This is to certify that on this 27th day of December 2023, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system.




                                                   /s/Brendan N. Gooley
                                               Brendan N. Gooley
